 

~ Case 07-19162 Doc67-3 Filed 06/11/08 Page 1 of 3

A. Settlement Statement U.S. Department of Housing
and Urban Development OMB No. 2502-0265

B, Type of Loan

4.00 FHA 2.0 RHS SB} Conv. Unins, | 3. Fila Number 7. Loan Number 8. Mortgage insurance Gase Number
4D VA 5,2 Conv. Ins, O6WM327 31806080

C, Nota: This form [s furnished to give you a statement of actual satliemant costs. Amounts pald to-and by tha eatiement agent are shown, fams
marked wore outside the are shown hare for Information and are not included In tha totais.

D. Name and Address of Borrower E, Name and Addmss of Sellar F. Name and Address of Lender
Kelth B. STEVENS M/1 Homes of DC, LLC Firsj Savings Mortgage Corporation
Melissia L. STEVENS a Delaware Limited Liability Company 8444 Weatpatk Drive, #400
10814 Catron Road $1018 Montille Road MeLaan, WA 22202
Perry Hail, Maryland 22128 Frederick, Maryland 21703

G. Property Losation . H, Sottiement Agent
10814 Catron Road Potomac Settlement Services, Ine, t/a Unity Title
Pony Hall, Maryland 21128
‘Lot 87, FIELDS OF WHITE MARSH Place of Satliement 1. Settlement Date

Baltimore County, THF 24-00-004863 : RGS Fountainhead 07/31/06
7939 Honepgo Boulevard, #124
White MD-25236

 

 

RESPA, HB 4305.2 - REV, KU.

    
 

 

Case 07-19162 Doc 67-3

5, DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT

 

Filed 06/11/08 Page 2 of 3

SETTLEMENT STATEMENT PAGE 2

 

RESPA, HB 4305.2 REV, HUD1{3/88)
 

— . ns

Case 07-19162 Doc64-3—Filed 06/44/08 Page-3-of 3-—______—

ADDENDUM TO HUD- 1. SETTLEMENT STATEMENT

TAX ADJUSTMENTS: If proration of tacos and assessments was madé on estimates
ptior to receipt of actual bills, the parties hereto agree to adjust the prorations shown
hereon when the actual bills are received. Payments of outstanding real estate taxes not

’ paid at-settlement are assumed by the purchaser.

’ SUBJECT TO FINAL AUDIT: All cornputations are subject to final audit, Amy error

discovered may be corrected by the Company in which event the parties hereto agree to
immediately reimburse the Company for any error made in their favor, and for the cost of
the collection of same, if necessary, including reasonable attorney's fees.

EXISTING LIENS: ‘The Sellers certify that there are no bankruptcy proceedings, Deeds
of Trusts, Mortgages, Special Assessments, or HOA Dues, levied or pending, or other
liens affecting the property other than those shown on page ] of hereof, and if there are
such liens, the Sellers hereby guarantee payment and release of same.

Seller further understands ali payoff figures are provided by lenders; any amount(s)
necessary to payoff existing. mortgage(s) is the sole. responsibility of Seller. If any
additional amount is necessary to payofi/release such lien, Seller agrees to immediately
forward to the Company any additional amount due,

The undersigned, for and in consideration of the Company's preparation of closing
documents and the conducting of closing, agree, that if requested, they will fully
cooperate, adjust and correct all TYPOGRAPHICAL OR CLERICAL ERRORS
discovered in any or all of the closing documents executed by the undersigned at

_ settlement. The undersigned appoint the Company and its designees as their attorney-in-

fact to correct any such errors, place our initials on documents where changes are made,
and/or sign our names fo and acknowledge any document or form adjusting or correcting
such errors. .

I have carefwlly reviewed the HUD-1 Settlement Statement and to the best of my
knowledge and belief, it is a true and accurate statement of all receipts and disbursements
made on my account or by me in this transaction. I further certify that I have received a °
copy ofthe HUD-1 Settlement Statement.

BUYER/BORROWERS SELLERS

M/l Homes of DC, LLC .
oe a Delaware Limited Liability Company
e B. HRN Lo John M. Berger, President MD Div. - .

Melissia L. STEVENS

 

Buyer Phone # Seller Phone #:
; : Forwarding Address:

 

The HUD-1 Settlement f atement which I have prepared i is a true and accurate account of
this transaction. va caused’ the funds ‘to be disbursed in “aocordance with ‘this

  

 

i. \

CERTIFI BE A TRUE AND CORRECT COPY OF THE ORIGINAL SETTLEMENT
STATEMENT CONSISTING OF 3 PAGES. WARNING: It is a crime to knowingly make fale
statements to the United States on this or any othér similar form, Penalties upon conviction can include a
. fine and imprisonment...For detaiis-x see:-Title. 18 U.S, Cade Section J001 and Section LOE...

 
